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In re Roots, 762 A.2d 1161 (2000)




                                                                 [3]
                                                                       Attorneys and Legal Services      Character and
                     762 A.2d 1161
                                                                       fitness
             Supreme Court of Rhode Island.
                                                                       Although repeated violations of various traffic
          In re Application of Roger I. ROOTS.                         laws, in isolation, may not preclude a candidate
                                                                       from admission to the bar, they are relevant to
                      No. 2000–276–M.P.                                moral fitness and good-character determination
                              |                                        that must be made when evaluating qualifications
                        Nov. 20, 2000.                                 of prospective attorneys.

                                                                       1 Case that cites this headnote
Synopsis
                                                                 [4]
                                                                       Attorneys and Legal Services      Character and
Applicant sought admission to bar. The Supreme Court held
                                                                       fitness
that recent and past criminal acts, instances of
untruthfulness, and a lingering inability of applicant to take         Various citations, misdemeanors, and felonies
requisite attorney's oath in good faith warranted denial of            that applicant accumulated over the years, which
application.                                                           offenses included resisting arrest with violence
                                                                       and a weapons registration offense, presented
Application denied.                                                    sufficient evidence to warrant, at minimum, a
                                                                       significant delay in acting favorably upon his
                                                                       application for admission to bar, especially in
                                                                       light of fact that applicant admittedly ignored and
                                                                       violated terms of his two previous probationary
 West Headnotes (16)                                                   periods.
[1]
       Attorneys and Legal Services       Review                 [5]
                                                                       Attorneys and Legal Services      Character and
       Supreme Court will not overturn a                               fitness
       recommendation of Court's Committee on                          Applicant's award-winning writings, his law-
       Character and Fitness as to whether to admit                    school class rank, his position on student
       applicant to bar unless Committee has abused its                newspaper, and his service on university law
       discretion or its decision is clearly wrong;                    review were largely irrelevant in establishing his
       however, Court will do so if such                               moral fitness and good character to practice as a
       recommendation is not well founded.                             member of bar. Sup.Ct.Rules, Art. II, Rule 3(a,
                                                                       f).
       3 Cases that cite this headnote
                                                                       1 Case that cites this headnote
[2]
       Attorneys and Legal Services       Application
       Requirement that every prospective attorney               [6]
                                                                       Attorneys and Legal Services      Character and
       complete application that asks for a listing of all             fitness
       the applicant's violations of traffic laws or                   Mere intelligence and academic achievement do
       ordinances other than parking offenses is not                   not necessarily equate to moral fitness and good
       superfluous nor a mere incursion into applicant's               character, both of which are preconditions to
       privacy, and it should not be so considered;                    becoming a member of bar. Sup.Ct.Rules, Art. II,
       rather, it bears a logical and appropriate                      Rule 3(a, f).
       relationship to ability of a prospective attorney to
       maintain respect for and to uphold the law.                     2 Cases that cite this headnote
       Sup.Ct.Rules, Art. II, Rule 3(e).

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[7]
       Attorneys and Legal Services      Character and              States while in exercise of office of attorney and
       fitness                                                      counselor. Sup.Ct.Rules, Art. II, Rule 8.
       Central purpose of requiring character review as
       part of attorney-admission process is to protect
                                                             [12]
                                                                    Attorneys and Legal Services      Oath
       those members of public who might become                     While it is possible to draw and maintain a sharp
       clients of the practicing lawyer from those                  line between a lawyer's personal beliefs and his
       attorneys who are so morally or ethically                    or her professional conduct, a predictive
       challenged that they are unable to demonstrate               assessment of a prospective lawyer's ability to
       the type of good character and moral fitness                 take and abide by attorney's oath is a fair subject
       requisite to serving in a fiduciary capacity.                for character review when considering applicant
                                                                    for admission to bar. Sup.Ct.Rules, Art. II, Rule
[8]
       Attorneys and Legal Services      Character and              8.
       fitness
       Fiduciary position of trust that a lawyer assumes
                                                             [13]
                                                                    Attorneys and Legal Services Presumptions,
       vis-a-vis his or her clients demands that                    inferences, and burden of proof
       individuals whom Supreme Court admits to bar                 Bar applicant bore burden at all times to
       should be worthy of confidence that members of               demonstrate his moral fitness and character to
       the public repose in them.                                   practice as a lawyer in state. Sup.Ct.Rules, Art.
                                                                    II, Rule 3(f).
[9]
       Attorneys and Legal Services      Character and
       fitness                                                      1 Case that cites this headnote
       Attorneys and Legal Services      Truthfulness        [14]
                                                                    Attorneys and Legal Services Political beliefs
       and candor
                                                                    or activities
       Applicant's lack of candor in applying to buy
                                                                    Constitutional Law Admission to bar
       firearms and on bar application about reason for
                                                                    First Amendment inhibited both Supreme Court's
       his use of an alias was inconsistent with
                                                                    Committee on Character and Fitness and
       admitting him to practice law.
                                                                    Supreme Court from denying membership in bar
[10]
       Attorneys and Legal Services Oath                            to applicant because of his political beliefs and
       Constitutional Law Admission to bar                          unorthodox political and social ideas. U.S.C.A.
                                                                    Const.Amend. 1.
       Attorney oath to support Federal and State
       Constitutions and to support federal and state               2 Cases that cite this headnote
       laws, as well as similar oaths that prospective
       attorneys across United States were required to       [15]
                                                                    Attorneys and Legal Services      Character and
       take, did not violate any individual constitutional          fitness
       right that bar applicant could have had to express           Attorneys and Legal Services      Political beliefs
       his contrary views. Sup.Ct.Rules, Art. II, Rule 8.           or activities
                                                                    Neither a criminal record nor political views of
[11]
       Attorneys and Legal Services      Oath
                                                                    applicant constitute an automatic bar to his or her
       When candidate for admission to bar has                      admission to bar, yet both may be relevant in
       published writings that communicate his or her               assessing (1) applicant's candor, honesty,
       explicit refusal to accept federal government as             sincerity, and good faith in professing a
       legitimate government of country, candidate                  willingness to take and abide by the requisite
       raises legitimate questions about whether he or              attorney's oath, and (2) ability of applicant, in
       she in good faith can take and abide by attorney's           exercise of his or her office as an attorney and
       oath to support laws and Constitution of United              counselor, to support Constitution and laws of

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       United States. Sup.Ct.Rules, Art. II, Rules 3(a, f),     hearings, the committee in November 1999 voted on his
       8.                                                       application. The vote of the committee was five in favor of
                                                                his admission and two opposed.
[16]
       Attorneys and Legal Services       Character and
       fitness                                                  After this vote, members of the committee circulated
       Attorneys and Legal Services       Oath                  memoranda setting forth the views of the majority of the
       Applicant's prior record, including his criminal         committee and also the views of the minority. The
       past and other conduct demonstrating his lack of         committee conducted a further investigation to determine
       candor and truthfulness, cast such doubt upon            whether additional information existed that should be taken
       sincerity of applicant's professed willingness to        into account. Upon determining that no additional
       abide by terms of attorney's oath that he was            information, other than that already obtained by the
       required to take as a member of the bar that his         committee, was available, the committee called a meeting for
       application would be denied. Sup.Ct.Rules, Art.          April 12, 2000. Before the date of that meeting, the
       II, Rules 3(a, f), 8.                                    membership of the committee had changed. One member
                                                                had resigned and the Attorney General's designee had been
       1 Case that cites this headnote                          replaced. The person who replaced the member who had
                                                                resigned recused herself from participation in the vote on
                                                                April 12. The Attorney General's new designee, however, did
                                                                participate in the vote. The committee then voted, resulting
Attorneys and Law Firms
                                                                in a recommendation by four members to admit the
*1162 Steven M. McInnis, Newport, for Plaintiff.                petitioner and a recommendation by two members to reject
                                                                his application. Three members of the majority wrote a
John D. Lynch, Warwick, for Defendant.                          memorandum in support of their recommendation. One
Present: WEISBERGER, C.J., LEDERBERG, BOURCIER,                 member of the majority presented a separate concurring
FLANDERS, and GOLDBERG, JJ.                                     memorandum that expressed serious doubts about the
                                                                petitioner's candor and honesty, but nevertheless
                                                                recommended his admission. The minority members
                                                                submitted two separate memoranda. The chairman of the
                         OPINION                                committee, who had voted against the admission of
                                                                petitioner, wrote one memorandum; the Attorney General's
PER CURIAM.                                                     designee wrote a separate memorandum.1

This case comes before us on an application by the petitioner   To avoid an unduly long recitation of the pertinent facts
Roger I. Roots (petitioner or Roots) seeking admission to the   concerning Roots's application, the various reports that the
bar of the State of Rhode Island. Roots, who was born in        majority and minority members prepared are attached to this
October, 1967, is a 1999 graduate of the Roger Williams         opinion and made a part hereof. The report of the majority is
University School of Law. Following his law-school              appended and marked as exhibit A. The concurring report
graduation, he took and passed the Rhode Island bar             recommending admission is appended and marked as exhibit
examination. In accordance with its usual procedures, this      B. The minority report that Chairman Steven M. McInnis
Court's Committee on Character and Fitness (committee)          wrote is appended and marked as exhibit C. The dissenting
examined Roots's record and interviewed him after he had        opinion of the Attorney General's designee is appended and
passed the *1163 bar examination. Because the committee         marked as exhibit D. All these reports contain very similar
had serious concerns relating to his character and fitness to   accounts of the factual elements underlying the reports of the
become a member of the bar of this state, it conducted a        members of the committee. Nevertheless, we shall attempt to
number of hearings to determine whether it would                set forth in this opinion the important facts and
recommend Roots's admission to the bar. As a result of these    circumstances that we believe justify our conclusion.


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Through its hearings and by examining the material                 For these reasons and those discussed below, we are of the
submitted in support of and in opposition to the application,      opinion that Roots's application should be denied without
the committee sought to resolve three major areas of concern       prejudice to Roots reapplying at some later date after he has
about the petitioner: (1) his criminal record; (2) his candor      proven that he has truly rehabilitated himself.
and veracity; and (3) his ability to take and abide by the
attorney's oath. Some of the evidence was documentary in
nature. In addition, extensive testimony was taken from the
petitioner himself. The three areas of concern shall be dealt                                    I
with separately in this opinion.


                                                                                  Petitioner's Criminal Record
                     Standard of Review
                                                                   In 1985, when he was eighteen years old, Roots was charged
[1]
      We will not overturn a recommendation of this Court's        with and convicted of shoplifting in the State of Florida. He
Committee on Character and Fitness (committee) unless it           had relocated there after leaving his home in Montana during
has “abused its discretion or its decision is clearly wrong.” In   his freshman year in high school. In his bar application,
re Application of Capace, *1164 110 R.I. 254, 259, 291             Roots admitted that, following his arrest for this crime, he
A.2d 632, 634 (1972). We will do so, however, if “such             “failed to appear at [his] scheduled hearing on the matter.”
recommendation is not well founded.” In re Testa, 489 A.2d         He conceded that he was aware that he needed to attend the
331, 334 (R.I.1985). Here, the committee's various                 hearing but claims that his immaturity at the time caused him
opinions—three-in-favor-of admission, one concurring, and          to disregard the court's order. Within two months, however,
two dissents—show that the committee itself was sharply            the Orlando police rearrested him on the same charge. He
divided in its views about whether to recommend the                was then detained until he could be presented to a judge.
admission of Roots to the bar. Indeed, the opinion of the          And even though the court still treated him with leniency,
concurring member who provided the decisive fourth vote in         Roots shirked his responsibility to abide by the terms of his
favor of admission (see exhibit B) contains strong                 probation when he failed to perform the community-service
reservations about whether Roots should be admitted to the         condition of his sentence. (He admitted in his application to
bar at all. Thus, this is not a situation in which the committee   the bar that he just “left Orlando without performing the
was of one mind and then submitted a unanimous and                 community service.”)
unqualified recommendation to us concerning the admission
of a candidate. On the contrary, the committee has submitted       Within a year, however, he was arrested again in Florida and
multiple opinions with only a bare majority of the committee       convicted of yet another crime, the felony of resisting arrest
favoring Roots's admission. And even that majority is              with violence. Generally, this crime involves disobeying,
tenuous, given the concurring member's strong reservations         with the use of force (as opposed to mere flight), a police
and the other members' own misgivings about Roots's                officer's lawful attempt to arrest an alleged criminal. See
qualifications. After reviewing these submissions, we are          Fla. Stat. Ann. § 843.01 (West 2000). As reflected in the
persuaded that the dissenters succeed in showing why the           police report and in Roots's law school application, the
majority's recommendation in favor of admission is not well        alleged facts of the crime reveal that Roots's truck had
founded. In any event, the committee's troubled majority           collided with another vehicle. A police officer arrived at the
vote was far from a resounding endorsement of Roots's              accident scene and an argument ensued between Roots and
admission to the bar. Accordingly, we do not believe that the      the officer. When the officer learned that Roots had failed to
majority of the committee's recommendation merits the usual        pay two fines for separate moving violations and was driving
deference that we would give to one that was not as clouded        on a suspended license, he attempted to take Roots into
by dissents and as hedged around by reservations as is this        custody but Roots physically resisted the arrest. Although a
one.                                                               federal sentencing judge would later characterize this

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incident as minor because, in attempting to subdue Roots, the       only drove on a suspended license, but also was issued
police officer struck the only actual blow, a Florida               citations for driving without a license, without insurance, and
sentencing judge, who presumably was more familiar with             without proper registration. On the second such occasion, he
the relevant facts and circumstances, ultimately *1165              was again driving on an expired registration plate and a
sentenced Roots to fifty-one weeks in prison following his          suspended license. Roots's bar application explains his
nolo contendere plea after he again violated his initial three-     conduct thus:
year-probation sentence.2
                                                                                “I was without sufficient money for insurance or
The petitioner then left Florida and moved to Wyoming,                          registration. I made it to work for several days
where he attended the Northwest Community College in                            but was pulled over by another officer only a
Powell, Wyoming. While there, he exhibited in class a                           couple days later. Again, I was arrested for
homemade air gun that he had constructed. (This may have                        driving without a license, registration, or
been part of a speech presentation.) Because the authorities                    insurance. * * * To this day I do not know what
knew that petitioner had a prior record, they searched his                      became of the cases in Georgia.”
dormitory room. There, they found additional weapons,
                                                                    *1166 On the present record, we do not know whether Roots
including an automatic pistol, an automatic rifle with
                                                                    has satisfied whatever lawfully imposed fines he was obliged
approximately 500 rounds of ammunition, and an assault
                                                                    to pay in Georgia. Apparently, he has not inquired about
rifle described as an AK–47. The petitioner was charged in
                                                                    what present responsibilities—or possible warrants for his
federal court with being a felon in possession of firearms and
                                                                    arrest based on his failure to resolve these matters—he still
with the possession of an unregistered firearm in violation of
                                                                    may have outstanding in Georgia.4 Nothing in the record
various federal statutes. Pursuant to a plea agreement,
                                                                    shows that Roots has resolved these matters. Moreover, even
petitioner pled guilty to the registration count (relating to the
                                                                    if Roots formerly lacked sufficient funds to pay for his
air gun).3 The other counts were dismissed. A federal judge
                                                                    automobile insurance or registration, he should have
sentenced petitioner to twenty months in federal prison on
                                                                    arranged to use public transportation or pursued other
January 10, 1992. This sentence terminated on April 4, 1993.
                                                                    alternatives (for example, carpooling with friends or co-
As previously mentioned, the federal judge indicated that the
                                                                    employees), rather than driving continuously on a suspended
petitioner's felony conviction for resisting arrest with
                                                                    or revoked license as he did when he was caught doing so on
violence in Florida was not as serious an offense as might
                                                                    three separate occasions.
appear on the surface since the only injury was to the
officer's hand when he struck the petitioner in the face.           [2]   [3]
                                                                                Every prospective attorney in this state must complete
Nevertheless, it was established that in purchasing the
                                                                    an application that asks for a listing of all the candidate's
various weapons, the petitioner had filled out a number of
                                                                    “violations of * * * traffic law [s] or ordinance[s] other than
forms in which he had misrepresented his status as a person
                                                                    parking offenses.” Committee on Character and Fitness,
convicted of a felony in Florida.
                                                                    Petition/Questionnaire for Admission to the Rhode Island
                                                                    Bar 13 (2000). See also S.Ct. R. Art. II, Rule 3(e)
The applicant's criminal record also includes the following:
                                                                    (“[p]ersons seeking admission to the practice of law shall * *
                                                                    * file with the Committee on Character and Fitness and with
(1) On at least eight occasions from the spring of 1986 to as
                                                                    the Clerk of the Supreme Court the petition and
recently as the winter of 1997, Roots was caught speeding
                                                                    questionnaire on a form to be furnished by the Clerk”). This
and ordered to pay fines. These moving-traffic violations
                                                                    part of the application is not superfluous nor a mere
occurred in Utah, Washington, and Montana.
                                                                    incursion into the applicant's privacy, and it should not be so
                                                                    considered. Rather, it bears a logical and appropriate
(2) Roots apparently ignored his previous driver's license
                                                                    relationship to the ability of a prospective attorney in this
suspensions and flouted these dispositions because he later
                                                                    state to maintain respect for and to uphold the law. And
was charged in Georgia not once but twice in 1989 for
                                                                    although repeated violations of various traffic laws, in
driving on a suspended license. On the first occasion he not
                                                                    isolation, may not preclude a candidate from admission to

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the bar, they certainly are relevant to the moral fitness and     required to establish their moral character and fitness to the
good-character determination that must be made when               satisfaction of the Committee on Character and Fitness of the
evaluating the qualifications of prospective attorneys.           Supreme Court of Rhode Island in advance of such
                                                                  admission,”); S.Ct. R. Art. II, Rule 3(f) (“[a]ny person who
(3) In Florida, Roots was convicted of providing a false          seeks to practice law in the State of Rhode Island shall at all
statement to the authorities. To be sure, Roots has admitted      times have the burden of proving his or her good moral
that he provided a false name, but it should go without           character before the Committee on Character and Fitness and
saying that this crime also reflects upon a candidate's ability   the Supreme Court of Rhode Island”).
to serve the public as an attorney, as well as upon the
applicant's candor and truthfulness.                              Notwithstanding these more recent positive factors, it is our
                                                                  belief that we have not yet had enough opportunity to
[4]
      In their totality, these various citations, misdemeanors,   conclude that Roots has totally rehabilitated himself,
and felonies that Roots has accumulated over the years            especially because his conduct during the years leading up to
present sufficient evidence to warrant, at minimum, a             and including the filing of his bar application raises further
significant delay in acting favorably upon his application for    questions about the depth, scope, and extent of his alleged
admission to the Rhode Island bar, especially in light of the     rehabilitation. Indeed, his probationary status on the federal-
fact that Roots has admittedly ignored and violated the terms     weapons conviction expired only a mere four years ago, after
of his two previous probationary periods. Indeed, Roots's         which he then enrolled in law school and continued to
first probation required him to perform community                 engage in activities that cast doubt on his candor,
services—yet he chose to ignore that mandate from the             truthfulness, and ability to take the attorney's oath in good
Florida court. Instead, it was only after he scuffled with an     faith.
arresting police officer—itself a display of disobedience to
the officer's attempt to effect a lawful arrest—and again
disobeyed the terms of his probation, that Roots was
ultimately forced to serve time in prison.                                                      II

[5]   [6]
            We recognize that Roots has not been convicted of
violating any criminal laws since his conviction on the               The Petitioner's Lack of Candor and Truthfulness
federal weapons charge and since his release from prison in
1993 after serving his federal jail sentence of twenty months.    It has been established that the petitioner was not truthful in
We also acknowledge and commend Roots's award-winning             applying for the purchase of firearms. It also has been
writings, his law-school class rank, his position on the          established that petitioner was not truthful in answering a
student newspaper, and his service on the Roger Williams          question on the bar application about the use of aliases,
University Law Review. On the other hand, while these more        although he did admit to having used three aliases: Carl
recent accomplishments are indeed praiseworthy, they are          Davis, Rodger Roop, and Roger Bell. He indicated on his
largely irrelevant in establishing his moral fitness *1167 and    application that these aliases were used for the purpose of
good character to practice as a member of our bar. Indeed, no     attending school, writing, and telephone fundraising. In his
one has sought to disqualify Roots based on his academic          testimony before the committee, however, he admitted that
incompetency or lack of intelligence. On the contrary, his        the use of the alias Carl Davis was to help him evade the law
record in this regard is conceded to be outstanding. But even     after he was indicted for the weapons charge in Montana.
some notorious criminals can point with pride to their            When he assisted in a senatorial campaign, he also used
relative intelligence. Thus, mere intelligence and academic       another alias, Roger Bell, in order to hide his true identity
achievement do not necessarily equate to moral fitness and        when salary payments were made to him. The minority
good character, both of which are preconditions to becoming       report that Chairman McInnis submitted concluded that
a member of our bar. See S.Ct. R. Art. II, Rule 3(a) (“[a]ll      Roots's lack of candor in this respect would not be consistent
persons who desire to be admitted to practice law shall be        with allowing petitioner to practice law.

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                                                                     year in prison for that offense after violating his initial three-
[7]    [8]
             We have recently affirmed that “[t]he attorney-client   year-probation sentence. He was also well aware of his
relationship is ‘one of mutual trust, confidence, and good           convictions at the time he applied to buy his various assault
will,’ in which the attorney ‘is bound to * * * the most             weapons, yet he failed to disclose them.
scrupulous good faith .’ ”     DiLuglio v. Providence Auto
Body, Inc., 755 A.2d 757, 769 (R.I.2000) (quoting Peirce v.          Furthermore, Roots admitted to the committee that he was
Palmer, 31 R.I. 432, 450, 77 A. 201, 209 (1910)). A central          less than forthcoming on his bar application about the reason
purpose of requiring character review as part of the attorney-       for his use of the “Carl Davis” alias. Significantly, Roots
admission process is to protect those members of the public          submitted this untruthful application for admittance to the
who might become clients of the practicing lawyer from               bar in 1999. When pressed about this discrepancy, Roots was
those attorneys who are so morally or ethically challenged           unable to reconcile these contradictory statements.
that they are unable to demonstrate the type of good
character and moral fitness requisite to serving in a fiduciary      Moreover, as mentioned above, Roots already had been
capacity. As Mr. Justice Frankfurter once observed, lawyers          convicted criminally of providing a false statement to the
stand                                                                authorities. Such a record of dishonesty, combined with
                                                                     Roots's other criminal misconduct and recent fabrication on
      “ ‘as a shield’ * * * in defense of right and to ward off      his bar application, appears to us to justify at least a several-
      wrong. From a profession charged with such                     year delay before Roots's application even should be
      responsibilities there must be exacted those qualities of      considered again for his possible admission to the bar. And
      truth-speaking, of a high sense of honor, of granite           Roots's use of an alias to mask his “unsavory” connections to
      discretion, of the strictest observance of fiduciary           white supremacy groups while working for the Committee to
      responsibility, that have, throughout the centuries, been      Reelect Conrad Burns, and his use of false indorsements on
      compendiously described as ‘moral character.’ ”                his paychecks, are simply further reasons for this Court to
      Schware v. Board of Bar Examiners *1168 of New                 deny Roots's application at this time.
      Mexico, 353 U.S. 232, 247, 77 S.Ct. 752, 761, 1 L.Ed.2d
      796, 806 (1957) (Frankfurter, J., concurring). See also        [9]
                                                                            In sum, then, we agree with the minority report that this
      Deborah L. Rhode, Moral Character as a Professional            applicant's lack of candor is inconsistent with admitting him
      Credential, 94 Yale L.J. 491 (1985).                           to practice law at this time.

The fiduciary position of trust that a lawyer assumes vis-à-
vis his or her clients demands that individuals whom this
Court admits to the bar should be worthy of the confidence
                                                                                                      III
that members of the public repose in them. An equal and
complementary concern is to safeguard the administration of
justice from those who might subvert it through
misrepresentations, falsehoods, or incomplete disclosures                         Ability to Abide by the Attorney's Oath
when full disclosure is necessary. See Donald T. Weckstein,
                                                                     Pursuant to Article II, Rule 8 of the Supreme Court Rules,
Recent Developments in the Character and Fitness
                                                                     “[e]very person who is admitted as attorney and counselor at
Qualifications for the Practice of Law: The Law School
                                                                     law shall take in open court the following engagement:”
Role; The Political Dissident, 40 Bar Exam. 17, 23 (1971).
                                                                           “ ‘You solemnly swear that in the exercise of the office of
As we have noted previously, Roots was not truthful in                     attorney and counselor you will do no falsehood, nor
applying to buy firearms. Indeed, he repeatedly checked a                  consent to any being done; you will not wittingly or
box indicating that he was not a convicted felon when he                   willingly promote, sue or cause to be sued any false or
applied for his gun purchases, despite previously having                   unlawful suit; or give aid, or consent to the same; you will
been convicted of a felony. Thereafter, Roots was convicted                delay no man's cause for lucre or malice; you will in all
for violently resisting arrest, and ultimately spent close to a
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  respects demean yourself as an attorney and counselor of         directly.”    Konigsberg v. State Bar of California, 353 U.S.
  this court and of all other courts before which you may          252, 269, 77 S.Ct. 722, 731, 1 L.Ed.2d 810, 823 (1957).
  practice uprightly and according to law, with fidelity as        Thus, we have no intention or desire to censor or to punish
  well to the court as to your client; and that you will           Roots for his past or present political views or for exercising
  support the constitution and laws of this state and the          his rights of free speech. Nevertheless, when as here, a
  constitution and laws of the United States. So help you          candidate for admission to the bar of a state has published
  God.’ ”                                                          writings that communicate his or her explicit refusal to
                                                                   accept our federal government as the legitimate government
[10]
       Beginning in 1993 petitioner has published a number of      of this country, such a candidate raises legitimate questions
articles—including articles as recent as 1998—that express         about whether he or she in good faith can take and abide by
explicit racial and ethnic bias as well as contempt and            the attorney's oath to support the laws and the constitution of
disdain for the federal government *1169 as a “Zionist             the United States while in the exercise of the office of
[O]ccupation [G]overnment.” His 1993 article is entitled           attorney and counselor. For example, if a candidate for
“100 Truths and One Lie” and purports to establish that            admission to the bar were to express the view that, in his or
members of the black race are inferior to members of the           her opinion, the laws and constitution of the United States
white race. Excerpts from this work are set forth in the           were illegitimate and, for that reason, unsupportable, but that
minority report. Moreover, as recently as 1998, Roots has          in the exercise of his or her office as an attorney or
written that he disavows the “de[ ]facto” regime of the            counselor, he or she still could and, therefore, would swear
United States government, its laws, and, apparently, its           to support that constitution and those laws, then the
Constitution. Similarly, he has written in support of the          committee and this Court would be entitled, we believe, to
bogus liens that the Freemen in Montana have attempted to          view that candidate's professed oath-taking ability with some
place on federal officials who, in his opinion, have violated      degree of skepticism—especially if the candidate were a
certain dictates that the Freemen espouse. It is noteworthy        convicted felon with a history indicating a recurring lack of
that Roots expressed these views in writing even while he          truthfulness and candor. While it is possible to draw and
was attending law school in 1998. Roots, however, now              maintain a sharp line between a lawyer's personal beliefs and
attempts to retreat from that stance. He would now have us         his or her professional conduct, a predictive assessment of a
believe that, consistent with the oath all prospective             prospective lawyer's ability to take and abide by the
attorneys must take, he now can swear that he will support         attorney's oath is a fair subject for character review when
the constitution and the laws of this state as well as those of    considering an applicant for admission to the bar. Here,
the federal government. This oath, as well as similar oaths        Roots bore the burden at all times to demonstrate his moral
that prospective attorneys across the United States must take,     fitness and character to practice as a lawyer in this state. See
does not violate any individual constitutional right that Roots    S.Ct. R. Art. II, Rule 3(f). But his recent 1997–1998
may have to express his contrary views. See       Law Students     publications and comments disavowing the legitimacy of our
Civil Rights Research Council, Inc. v. Wadmond, 401 U.S.           federal government—especially when considered in light of
154, 161, 91 S.Ct. 720, 726, 27 L.Ed.2d 749, 757 (1971)            his criminal record and history of other misconduct
(holding that the requirement that an attorney be able to take     indicating a lack of forthrightness and candor—give us pause
and abide by the oath to uphold the constitution and the laws      in accepting his avowal to us that he can now in good faith
of the United States is constitutional).                           take and abide by the requisite attorney's oath.

[11]   [12]   [13]
                     At the same time, the United States Supreme   *1170 [14] [15] Nevertheless, in reaching this conclusion, we
Court has stated that “[c]itizens have a right under our           agree with the majority of the committee that the First
constitutional system to criticize government officials and        Amendment inhibits both the committee and this Court from
agencies. * * * Government censorship can no more be               denying membership in the bar to the petitioner because of
reconciled with our national constitutional standard of            his political beliefs and unorthodox political and social ideas.
freedom of speech and press when done in the guise of              See In re Stolar, 401 U.S. 23, 91 S.Ct. 713, 27 L.Ed.2d 657
determining ‘moral character,’ than if it should be attempted      (1971);      Baird v. State Bar of Arizona, 401 U.S. 1, 91

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S.Ct. 702, 27 L.Ed.2d 639 (1971);          Konigsberg v. State    For the above reasons, we conclude that Roots's application
Bar of California, 353 U.S. 252, 77 S.Ct. 722, 1 L.Ed.2d 810      to the bar should be denied. The record in this case reveals
(1957);      Schware v. Board of Bar Examiners of New             far too many recent and past criminal acts, instances of
Mexico, 353 U.S. 232, 77 S.Ct. 752, 1 L.Ed.2d 796 (1957).         untruthfulness, and a lingering inability of this candidate to
All of these cases related to applicants who either were or       take the requisite attorney's oath in good faith. Thus, we
had been at one time members of the Communist Party or            cannot endorse Roots's admission to the bar of this state at
refused to answer questions relating to their membership in       this time. Nevertheless, our denial of his application shall not
an organization (presumably the Communist Party) that             preclude the possibility of Roots reapplying for and
advocated the violent overthrow of the government of the          obtaining approval of his admission to the bar at some later
United States. We also recognize, as did the majority             time, but no sooner than two years from the date of this
members of the committee, that neither a criminal record nor      opinion. Moreover, if Roots reapplies for admission to the
the political views of an applicant constitute an automatic bar   bar of this state within three years from the date of this
to his or her admission. Yet both may be relevant in              opinion, he shall not be required to retake the bar
assessing (1) the applicant's candor, honesty, sincerity, and     examination. However, in addition to satisfying the
good faith in professing a willingness to take and abide by       committee's usual criteria, he shall be required to
the requisite attorney's oath, and (2) the ability of the         demonstrate to the satisfaction of the committee and,
applicant, in the exercise of his or her office as an attorney    ultimately to this Court, that, during the period between the
and counselor, to support the constitution and laws of the        date of this opinion and his reapplication:
United States. See      Law Students Civil Rights Research
Council Inc., 401 U.S. at 156, 91 S.Ct. at 723, 27 L.Ed.2d at     1. He has secured and maintained gainful employment;
751; In re Converse, 258 Neb. 159, 602 N.W.2d 500, 506
(1999).                                                           2. He has kept the peace and been of good behavior;


The petitioner has stated to the committee and to this Court      3. His writings and other conduct are consistent with his
that he will not only take the attorney's oath if admitted to     ability to take the attorney's oath in good faith;
the bar, but that he will abide by it. He stated unequivocally
under oath to this Court that he would not discriminate           *1171 4. His previous motor vehicle and driving violations
against any person for racial or ethnic reasons. He further       and any resulting sanctions in the states of Georgia and Utah
stated that he would abide by the lawyer's oath in all respects   have been satisfied and are no longer outstanding;
without any mental reservation or purpose of evasion. And
he has stated to the committee that he no longer entertains       5. He has performed pro bono publico services of a
his extremist views on the illegitimacy of the government of      substantial and continuing nature;
the United States.
                                                                  6. His post–1993 conduct and achievements outweigh the
[16]
       We are of the opinion, however, that the prior record of   misconduct and other detrimental factors detailed in this
                                                                  opinion and, thus, are better indications of his moral
the petitioner—including his criminal past and the other
                                                                  character and fitness to practice law than his previous
conduct referenced above demonstrating his lack of candor
                                                                  misconduct.
and truthfulness—casts such doubt upon the sincerity of
Roots's professed willingness to abide by the terms of the
                                                                  Accordingly, we hereby deny Roots's application without
oath that he must take as a member of the bar of this state
                                                                  prejudice to his reapplication at some later time (no sooner
that his application should be denied at this time.
                                                                  than two years) when a more accurate and adequate
                                                                  assessment of Roots's professed rehabilitation can be
                                                                  undertaken.
                          Conclusion



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EXHIBIT A                                                          arrested and charged by the federal government with being a
                                                                   felon in possession of firearms in violation of   18 U.S.C.
                                                                   §§ 922(g)(1),      924(a)(2) and with the possession of an
    Report of the Committee on Character and Fitness               unregistered firearm in violation of   26 U.S.C. §§ 5845(e),
                  Regarding Roger Roots                                5861(d), and     5871. He pled guilty to the registration
                                                                   count. On January 10, 1992, he received a the sentence
Roger Roots is a recent graduate of Roger Williams Law
                                                                   mandated by the Federal Sentencing Guidelines: 20 months
School and an applicant for admission to the Rhode Island
                                                                   in federal prison terminating on April 4, 1993.
Bar. Mr. Roots has a problematic history which has
necessitated an investigation and a hearing into his moral
                                                                   The count of conviction, the registration count, involved a
character and fitness as required by Article II, Rule 3. On the
                                                                   homemade weapon which apparently was constructed as part
one hand, Mr. Roots has an exemplary record in college and
                                                                   of a class project. The dismissed counts, however, involved
in law school. On the other hand, for a period of some five
                                                                   the possession of substantially more serious armament: an
years ending in 1990, he exhibited gross disrespect for the
                                                                   AK–47 rifle, a 12 gauge shotgun, a .38 caliber revolver and a
law, which disrespect was exacerbated by a stream of
                                                                   .22 caliber semi-automatic rifle. In obtaining several of these
extremist writings, some of which have continued into the
                                                                   weapons, Mr. Roots was required to fill out *1172 forms on
near past. In large measure, resolution of Mr. Roots'
                                                                   which he misrepresented his status as a Florida felon.
candidacy boils down to a question of whether one should
emphasize the pre–1991 Mr. Roots or the man who post-
                                                                   At several points during this period Mr. Roots briefly used
dates that period. The issue is compounded by the First
                                                                   an alias. There is no indication that his purpose was to
Amendment implications of considering content of his
                                                                   facilitate further violations of the law.
numerous political writings, some of which have attacked
our system of laws and others of which have been on
                                                                   The Committee views this conduct as serious and potentially
occasion blatantly racist.
                                                                   disabling to his candidacy. The Committee recognizes,
                                                                   however, that all of this conduct occurred during a five year
On balance, a majority of the Committee on Character and
                                                                   period which ended approximately a decade ago. At the time
Fitness (the Committee) believe Mr. Roots should be given
                                                                   Mr. Roots was a very young (and apparently very angry)
the benefit of the doubt, and that the decision here should be
                                                                   young man. The Florida charges, particularly the felonious
made on the basis of his actions, not his political opinions.
                                                                   resisting arrest, may well have overstated the seriousness of
                                                                   the actual conduct, as indeed the federal judge who
                                                                   sentenced Roots on the weapons charge explicitly found.1 As
1985–1990                                                          for the weapons charges themselves, they apparently resulted
Roger Roots grew up in rural Montana. He left home in              from some kind of far-right survivalist gesture designed to
1985, the spring of his freshman year in high school. For the      assert a citizen's right to possess weapons, including
next several years, he criss-crossed the country, supporting       essentially military weapons, before such possession was
himself as an itinerant worker while at the same time              banned by the Government. The Committee has received no
obtaining his G.E.D. He ran afoul of the law in Florida in         evidence of a more traditional criminal purpose.
1985, first with a shoplifting charge, and then, having
ignored the terms of his probation, with a series of probation     Rhode Island has never made conviction of a felony an
violations which culminated in a resisting arrest charge, a        absolute bar to the practice of law. Several persons have
felony under Florida law. For this final offense, he was first     been admitted to practice here even after conviction of
held, and later violated on his probation for failure to report.   violent felonies. The Committee views the continuing nature
He ended up serving a total of some 51 weeks in prison.            of Mr. Roots' offenses to be serious. In particular, the
                                                                   Committee is concerned about the misrepresentations on the
On his return to the West, Mr. Roots attended Northwest            gun applications. On the other hand, the Committee has no
Community College in Powell, Wyoming. There he was                 evidence that Mr. Roots has done anything illegal for a full

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decade. Given this lapse of time and the intervening events,        conduct violating this Rule. But any foray into this area
the Committee does not believe that his criminal conduct by         based upon speech alone is problematic. As the Supreme
itself renders Mr. Roots ineligible.                                Court has noted, the requirement of “good moral character”
                                                                    is “unusually ambiguous” and being “easily adapted to fit
                                                                    personal views and predilections, can be a dangerous
                                                                    instrument for arbitrary and discriminatory denial of the right
Extremist Positions
                                                                    to practice law.” Konigsburg,     supra at 263, 77 S.Ct. 722.
Mr. Roots has a substantial history of advocating far-right
survivalist-type views. He has made statements which
                                                                    Roger Roots has been involved in extremist political activity.
directly disparage the rule of law, using such inflammatory
                                                                    He has flirted with aggressive anti-system views and has
phrases as “the Zionist occupation government” and the like.
                                                                    made explicit racist statements, although the latter appear to
At times, his writings have included explicitly racist
                                                                    date back to his period of imprisonment in 1992. Certain of
statements. Mr. Roots has testified that many of his more
                                                                    his statements are sufficiently extreme to cause one to doubt
extreme statements grew out of angry ignorance, before he
                                                                    the soundness of his judgment. However, to do so in this
had ever been to college; and that college and law school
                                                                    context is to penalize him for the content of his views,
have moderated his views, although they remain at the far
                                                                    precisely what the First Amendment prohibits.
right end of the political spectrum.
                                                                    Consequently, and in the absence of recent conduct
                                                                    demonstrating unfitness, the Committee believes that Mr.
The Committee believes that any weighting of an applicant's
                                                                    Roots' extremist writings do not rise to the level that should
political beliefs is fraught with constitutional peril. The
                                                                    require this Court to press the constitutional envelope by
Supreme Court has observed that “ ‘mere unorthodoxy [in
                                                                    excluding him from the practice of law.
the field of political and social ideas] does not as a matter of
fair and logical inference negate ‘good moral character’ ' ”.
                                                                    The Bar loses as well as gains when the fringes of diverse
    Schware v. Board of Bar Examiners of the State of New
                                                                    opinion are excluded from its membership. “We can have
Mexico, 353 U.S. 232, 244, 77 S.Ct. 752, 1 L.Ed.2d 796
                                                                    intellectual individualism and the rich cultural diversities that
(1957), quoting brief with approval. Further, under the First
                                                                    we owe to exceptional minds only at the price of occasional
Amendment, “views and beliefs are immune from bar
                                                                    eccentricity and abnormal attitudes.”      West Virginia State
association inquisitions designed to lay a foundation for
                                                                    Board of Education et al. v. Barnette, 319 U.S. 624, 642, 63
barring an applicant from the practice of law.”          Baird v.
                                                                    S.Ct. 1178, 87 L.Ed. 1628 (1943). The Committee believes
Arizona, 401 U.S. 1, 8, 91 S.Ct. 702 (1971). In particular, the
                                                                    that neither the Bar nor the Court is so fragile that it cannot
State cannot “penalize [a bar] petitioner solely because he
                                                                    survive an attorney whose politics may be outlandish or even
personally ... ‘espouses illegal aims' ”. In re Stollar, 401 U.S.
                                                                    egregiously offensive. As an attorney, Mr. Roots will have
23, 28–29, 91 S.Ct. 713, 27 L.Ed.2d 657 (1971).
                                                                    an ethical obligation to abide by Rule 8.4. He has stated in
                                                                    sworn testimony that he will be able to do so. He has also
The Committee acknowledges there may be circumstances
                                                                    testified that he can and will support the laws and
where the First Amendment will not prevent this Court from
                                                                    Constitution of Rhode Island and the United States, all of
assessing communications or conduct which bear on the
                                                                    which proscribe discrimination on the basis of race. The
fitness to practice law. See,    Konigsberg v. State Bar of
                                                                    Committee is not able to forecast his inability to live up to
California, 353 U.S. 252, 77 S.Ct. 722, 1 L.Ed.2d 810 (1957)
                                                                    this obligation. See,    Bond v. Floyd, 385 U.S. 116, 87 S.Ct.
recognizing that advocacy of the violent overthrow of the
                                                                    339, 17 L.Ed.2d 235 (1966)(precluding use of political
government may warrant bar rejection. Similarly, *1173
                                                                    speech as a basis for challenging sincerity of person
Rule 8.4(d) of the Rules of Professional Conduct requires
                                                                    swearing to uphold Constitution); cf.,           Law Students
that an attorney not engage in conduct prejudicial to the
                                                                    Research Council, Inc. v. Wadmond, 401 U.S. 154, 167, 91
administration of justice which includes but is not limited to
                                                                    S.Ct. 720, 27 L.Ed.2d 749 (1971)(acknowledging the
“harmful or discriminatory treatment of litigants, jurors,
                                                                    wisdom of using deterrent and punitive effects, such as post-
witnesses, lawyers, and others based on race, nationality, or
sex.” Presumably disciplinary action could be taken for

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admission sanctions, as the principal means of policing           of his answers seemed confused, as he groped for
attorney conduct).                                                explanations of decade-old aberrant behavior. He did not,
                                                                  however, appear consciously untruthful. The Committee can
                                                                  find no substantial evidence which would support the
                                                                  conclusion of lack of candor.
1994–2000
Mr. Roots was released from federal prison on April 4, 1993.
Since that time, his achievements have been impressive. He
graduated at the very top of his class in college. In law         Conclusion
school he was a member of the Law Review, the executive           For these reasons, the Committee concludes that Mr. Roots
editor of the student newspaper, and the student president of     meets the minimum requirements for the admission to the
the school's chapter of the Federalist Society for Law and        practice of law and recommends to this Court that it admit
Public Policy studies. He has won several national writing        him to the Bar of the State of Rhode Island.
competitions and has graduated near the top of his law
school class.

                                                                  EXHIBIT B
Two deans of Roger Williams Law School testified on his
behalf, Deans Cogan and Harrington. Both stated that Mr.
Roots has been an active and valuable member of the law
school community. Both stated that he has been a very             CONCURRING REPORT TO THE SUPREME COURT ON
                                                                       THE APPLICATION OF ROGER ROOTS
motivated student, always prepared and always ready to help
his fellows. They made these statements knowing of his
                                                                  I write this separate report to the Court because, while I
criminal record, which he had disclosed on his law school
                                                                  agree with the majority that neither Mr. Roots' personal
application forms. They were not conversant, however, with        beliefs nor his past criminal convictions should disqualify
his past extremist political writings. Both stated their belief
                                                                  him from being a member of the bar, I cannot fully agree
that, if given the opportunity, Mr. Roots would prove to be a     with their assessment of his credibility and candor before this
credit to the Bar.
                                                                  Committee.

                                                                  I, like the majority, question whether an applicant's political
*1174 Candor Before the Committee                                 or personal opinions should disqualify him from membership
Mr. Roots fully disclosed both his criminal record and his        in the bar, so long as they do not manifest themselves in
past use of aliases on the Bar questionnaire. He did not          illegal, unethical or otherwise improper conduct.
disclose his political writings, but he was not asked to do so.   Furthermore, I join with the majority in the belief that Mr.
In the course of the hearing, questions arose concerning Mr.      Roots' past criminal conduct should not, by itself, disqualify
Roots' candor in answering certain questions on his law           him from the practice of law, given the nature of his crimes
school application, particularly those relating to past           and the time that has passed since they were committed.
employment—a failure to list his position as correspondent        During my tenure, the Committee has been especially
to a far-right newspaper as a job and the reasons for his         concerned with crimes involving theft or dishonesty. An
termination from a senatorial campaign. The Committee             attorney is often placed in a position of trust where the only
concludes that Mr. Roots was not being deliberately evasive       real protection his client or the public has from an abuse of
on these points.2                                                 that trust is the attorney's own integrity and sense of honesty.
                                                                  Although the method Mr. Roots used to commit his last
Mr. Roots promptly furnished the Committee with any and           crime, lying on gun applications, and the method he used to
all materials requested. His file is now voluminous with the      avoid prosecution, use of aliases, certainly involved
materials which he supplied. Appearing before the                 dishonest conduct, the underlying crimes did not.
Committee, he was not a carefully prepared witness. Many


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In reviewing Mr. Roots' criminal record in preparation for        political/social beliefs, which he said he had held in the past.
his testimony, I did not perceive his crimes as demonstrating     Neither was Mr. Wiernusz aware of any of his Freemen or
a dishonest heart so much as a disregard for any law which        racial writings, but only his law school articles.
was inconvenient for him or conflicted with his political
beliefs or personal desires. This attitude appeared to manifest   I do not know if these people would have recommended Mr.
itself when he argued with the police officer in Florida,         Roots if they were as fully aware of his writings and personal
decided to leave Florida rather than comply with the              beliefs as they thought they were, but it does concern me that
requirements of his probation, and lied on several gun            Mr. Roots offered recommendations of two people who were
applications so he could purchase the weapons that he             misinformed about issues of which they represented they
wanted.                                                           were aware. I do not know whether Mr. Roots knew the
                                                                  content of the recommendations of Mrs. Justice Goldberg
*1175 In the documents he submitted and his testimony, I          and Mr. Weirnusz before they were submitted, but if he did,
hoped to see some indication that he realized that the law        I believe his actions were misleading to the committee and
was more than just something to be ignored or gotten around       disservice to his employer and friend.
when inconvenient or in conflict with his personal beliefs or
desires. I was also hoping for candor from Mr. Roots and, as      I questioned Mr. Roots as to whether he believed that there
a Committee member, I believe, I was entitled to receive it.      should be an extra judicial system and whether the Freemen
Despite his protestations of candor and production of             had the right to file liens that they issued themselves. His
voluminous records, I, like the minority, do not believe that     answer was that he did not.1 I find it difficult to reconcile his
Mr. Roots was fully open and frank with us. The documents         answer at the hearing with his published writings as recently
he submitted as part of his application at several points         as 1997 and 1998.2
provided only half truths, e.g. his characterization in his bar
application of the reasons for his use of aliases, his omission   *1176 When Mr. Roots asked if there was further
from his law school application of his attendance at the very     information he could provide, I explained that my concern
school at which he was arrested and later convicted of            was with his candor and credibility. His response was to
having possession of a firearm (whether seized from a school      immediately deny testimony which he had clearly given just
dormitory or his apartment, as stated in the bar and law          a few minutes before, causing his attorney to stipulate that he
school application, is not clear), and his mischaracterization    had testified to that effect.
of the reasons for his being terminated from the senator's
campaign.                                                         I cannot go so far as the dissent in characterizing some of
                                                                  these statements as flat out lies but I certainly was left with
In reviewing the recommendations before the hearing, I            the impression that documents submitted in support of his
questioned whether Mrs. Justice Goldberg was truly aware of       application and his testimony contained a number of half-
Mr. Roots' political beliefs listing Adolph Hitler, among         truths and evasive answers. It appeared that he was trying to
others, as evidence of the superiority of the white race, and     soften the hard facts of his criminal record and avoid inquiry
likening the physical characteristics of African Americans to     into his political/ social writings, by evasive, incomplete or
apes, R. Roots, “100 Truths and One Lie” (1993?), and             misleading statements. Nevertheless, Mr. Roots certainly did
supporting the Freemen's right to operate their own judiciary,    disclose his criminal record in detail and, although he did not
complete with the issuance of liens on the property of public     disclose his political or social beliefs, he was not asked to do
officials, Roger Roots, “Five Freemen Convicted One               so. Moreover, anyone of the instances I described above
Acquitted in Federal Show Trial,” The Jubilee Newspaper,          would not cause me to vote against his application. I
Vol.10 No. 4, April 13, 1998, “How Strong Is The Case             recognize that on paper Mr. Roots has made a significant
Against the Freemen?” The Jubilee Newspaper, Vol. 9, No. 3        effort to rehabilitate himself and that successful
(1997 or 1998). I also wondered if Mr. Wiernusz had truly         rehabilitation is a goal of the criminal justice system. Mr.
read much that Mr. Roots had written. In fact, Mr. Roots          Roots pleaded passionately before the Committee that he be
admitted that Ms. Justice Goldberg was not aware of his           given an opportunity to work as an attorney on behalf of


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prisoners in need of representation. If Mr. Roots had been as      III. Mr. Roots' views on the legal system, as evidenced by
frank as the majority felt he was, he would have made my              his publications. I believe that the Committee's charge
decision much easier.                                                 to inquire into a candidate's moral character and fitness
                                                                      to practice law encompasses a reasonable review of the
Weighing all of these factors, I join with the majority in            candidate's attitudes and opinions *1177 on social
recommending his admission to the bar, however, I do so               issues, to the extent that such views may reflect on his
with significant doubt as to the wisdom of my decision, and           or her ability to take in good conscience and uphold the
therefore I, like the minority, would urge the court to view          oath required of all attorneys or on his or her ability to
Mr. Roots' entire record and interview him carefully to               practice law in accordance with the equitable principles
determine whether it believes he has the character and fitness        enunciated in our rules of professional responsibility.
to be a member of the bar.                                            Mr. Roots' writings evidence to me a severe deficiency
                                                                      in this regard.

Respectfully submitted,                                            The record transmitted to the Court contains the full
                                                                   written documentation bearing on the above matters.
Brendt W. Anderson                                                 However, I would like to summarize the contents of some
                                                                   of those documents that relate to my concerns.
EXHIBIT C
                                                                   Criminal Record. The file discloses many arrests and
                                                                   convictions while Mr. Roots led a basically itinerant life in
                                                                   Florida and other southern states. These occurred when
    MINORITY REPORT APPLICATION OF ROGER                           Mr. Roots was young, in some cases in his teens. As the
                   ROOTS
                                                                   majority of the Committee has noted in its deliberations,
                                                                   taken individually these matters may seem remote in time
To: Supreme Court of Rhode Island                                  and relatively minor in severity. However, the last
                                                                   conviction was for a felony, resisting arrest, and in his
Re: Bar Application of Roger Roots                                 testimony Mr. Roots conceded that he knew or should
This letter is written as a dissenting report to the majority      have known that the conviction was a felony which would
vote of the Committee regarding Mr. Roger Roots. Unlike            remain on his record if he did not complete his probation.
the majority, I believe that the Court should deny admission       Mr. Roots then fled the jurisdiction and returned to
to the Bar to Mr. Roots. The basis for this belief is threefold:   Montana, his home state, and therefore did not complete
                                                                   his probation in Florida. Despite that fact, Mr. Roots
  I. Criminal Record. Mr. Roots has been convicted of
                                                                   obtained numerous weapons the possession of which is
     various misdemeanors and two felonies. The last
                                                                   prohibited, by federal law, to convicted felons. Mr. Roots
     conviction resulted in his incarceration in a Federal
                                                                   testified that he obtained these weapons at various times
     penitentiary for a term ending in 1993, the year he
                                                                   from various dealers, and that he was required to sign a
     returned to college and only three years before entering
                                                                   form at each dealership attesting to the fact that he was not
     law school. His probation period ended in 1996.
                                                                   a convicted felon. Each time Mr. Roots falsely replied
  II. Untruthfulness. Mr. Roots has affirmatively lied on his      “No” on the form, and concedes now that he probably
     law school application and his application for admission      knew at the time that the statement was false, and certainly
     to the Bar, and I believe has carefully avoided               knows it now. It is also worth noting that these weapons
     disclosing aspects of his past which may rise to the          were not ordinary handguns; they consisted of an
     level of tacit untruthfulness. He also, by his own            automatic pistol, an automatic rifle with at least 500
     admission, lied on the gun permit applications by             rounds, and an assault rifle commonly known as an AK47.
     affirming that he had not been convicted of a felony.
                                                                   When Mr. Roots exhibited in a college class a homemade
                                                                   air gun that he constructed, the authorities, apparently

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  knowing that he was a convicted felon, raided his dorm          Roots listed three aliases, Carl Davis, Rodgers Roop and
  room and found the air gun and also the additional              Roger Bell, and stated on the application that they were
  weapons. Ultimately, Mr. Roots pleaded guilty to a single       used for purposes involving attending school, writing and
  charge concerning the air gun, and the remaining charges        telephone fundraising. However, in his testimony before
  were dropped. He conceded in his testimony that the other       the Committee, he revealed after questioning that the real
  weapons were present and were seized, and that                  reasons were quite different. The alias Carl Davis was
  possession of them violated the law as well as the weapon       used while Mr. Roots was evading the law after he was
  for which he pleaded guilty. Mr. Roots then served time in      indicted for the weapons charge in Montana. Another
  federal prison, was released in 1993. His probation ended       alias, Roger Bell, was used by the Conrad Burns campaign
  in 1996, while he was in law school.                            to hide his true identity in making salary payments to him.
                                                                  Apparently, Mr. Roots falsely endorsed these paychecks
  I believe that the series of convictions is a serious matter.   and deposited them into his bank account. It is unclear if
  There was no good reason for Mr. Roots to possess such a        he ever paid income taxes on these amounts.
  number of high-powered weapons; in fact, in his
  testimony before the Committee he could not come up             The third area, already mentioned above, is that Mr. Roots
  with a coherent reason for purchasing the weapons. Doing        falsely stated on his gun applications that he was not a
  so knowingly as a convicted felon is inexcusable, in my         convicted felon.
  view, and should be a bar to his becoming an attorney.
                                                                  I believe that Mr. Roots has shown a pattern of
  Truthfulness. Mr. Roots was untruthful in at least three        untruthfulness that is not consistent with practicing law.
  areas.
                                                                  Ability to Take Oath in Good Conscience. Of all the areas
  The first concerns an item on his law school application        of concern, this is to me the gravest. Mr. Roots has shown
  regarding previous employment. The question asks for            by publications and articles he has written to be a
  previous employment and the reason for ceasing                  committed racist, and has shown utter disdain for the
  employment. Mr. Roots listed a job with the Committee to        fairness of the legal system and our system of government.
  Reelect Conrad Burns (a Senator from Montana) and he            These views were advanced not in the far distant past, but
  stated that the reason for leaving was a conflict with his      as recently as 1998, when he was well through law school.
  school schedule. In fact, he was terminated from the job        His views in this regard are summarized in two
  because of his unsavory associations with white                 publications. The first is a pamphlet [Exhibit 5] that Mr.
  supremacist activists. He *1178 not only admits this now,       Roots apparently composed largely while he was in
  but also published several letters to the editor to the local   prison, and which was released no earlier than 1993, since
  newspaper at the time which bemoaned his firing for that        the bibliography in the work lists references published in
  reason. These letters to the editor were also untrue in some    1993. The title of the work is “100 Truths and One Lie”
  respects. He states in them that the reason for his firing      and is a manifesto proving the inferiority of blacks as
  was that the Young Republicans at his college, a group          compared with whites. Here are some samples from this
  that he founded, had a Ku Klux Klan activist as a member,       enlightening work:
  whom Mr. Roots says in his letter to the editor that he
  barely knew the man. That is untrue; he in fact befriended        “Fact # 6: Blacks are 6 times as likely to have I.Q.'s of
  the man at college, and requested that he helped found the        50 to 70 which put them in the slow learner (retarded)
  Young Republicans on campus and become its vice                   category, while Whites are ten times more likely to
  president. All of these matters took place after he was           score 130 or over.
  released from prison, and within his probationary period.
                                                                    Fact # 17: Among human races numerous studies have
  The second area of untruthfulness concerns an answer              been made of the comparative weight of White and
  given by Mr. Roots in response to a question on the Bar           Negro brains with results that fell within the range of
  application about any aliases used by the applicant. Mr.          about an 8–12 percent lower weight for the Negro
                                                                    brain...

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    Fact # 19: The thickness of the supragranular layer (the       recovery is lawful. It is where the buck stops that is so
    outside layer) of the Negro brain is about 15 percent          unsettling to the defacto regime that now occupies
    thinner, and its convolutions are fewer and more simple,       America. It is no wonder that the regime is now waging
    on average, than that of the White brain.                      an around-the-clock war against the common law
                                                                   movement?(sic)” [See Exhibit 4].
    Fact # 20: The frontal lobes of the Negro brain,
    responsible for abstract conceptional (sic) reasoning, are   Mr. Roots also apparently believes that the legal system is
    smaller relative to body weight, less fissured, and less     out to get the Freemen. Here are some samples of his
    complex than those of the White brain.                       statements

    *1179 Fact # 24: The Negro skull, in addition to having        In commenting on the trial of the Montana Freemen
    a smaller brain volume and thicker cranial bones than          (January 1997): “With the prosecution of the Montana
    that of the White, is prognathous; i.e. the lower face         Freemen characters, the Zionist occupation government
    projects forward, rather in the manner of an animal's          is again targeting what it perceives as the most serious
    muzzle. In consequence, the Negro jaw is substantially         threat to its power: law without lawyers and courts
    longer, relative to its width, than the White jaw. A           without legislative or executive sanction...” In that same
    feature of the Negro lower jaw is its retention of a           article he refers to public defenders appointed by the
    vestige of the “simian shelf”, a bony region                   Court as “public pretenders” and laments that “[e]ven
    immediately behind the incisors. This simian shelf is a        during the 1996 stand-off at Justus, Montana, U.S.
    distinguishing characteristic of apes, and it is absent in     Attorney Matterucci was expressing hope that the men
    Whites.                                                        would all surrender and accept government-licensed
                                                                   lawyers. (Isn't it odd that U.S. prosecutors desire their
    Fact # 46: Scientific research on what constitutes             opponents to be represented by bar attorneys?) Later,
    human beauty, in which 300 judges of various                   only those who accepted bar-lawyers were granted
    backgrounds were shown portrait photographs and                bail.” [See Exhibit 9].
    asked to rate the beauty of the individual's face, has
    revealed that Nordic Whites are universally recognized       Again, these are not statements made many years ago; the
    as the most attractive humans, even by Blacks...” [All       above-referenced articles have been penned while he was
    quotes from Exhibit 5]                                       attending Roger Williams Law School. I believe that these
                                                                 positions show disrespect and disregard for the legal
  The other publications are those Mr. Roots has written as a    system and for the many men and women who devote
  reporter for The Jubilee. This is an extreme right-wing        themselves to the practice of law and are inconsistent with
  publication, and Mr. Roots' articles have focused on racial    the oath that all attorneys are required to take.
  matters and the trials involving the Montana Freemen. The
  Freemen believe that, as “organic white Americans” (as         Mr. Roots now states that he is not a racist, and would
  Mr. Roots calls them), they are not subject to the laws of     have no problem serving persons of all races and
  the United States. They conduct their own trials and           backgrounds as an attorney. However, the Committee, I
  appeals in their own “common law” courts, and issue            believe, has every right to examine all the facts and
  “liens” against the assets of public officials whom their      circumstances in order to evaluate the applicant's
  “courts” believe trample on their rights. These include        assertions. *1180 Given the facts of this case, I don't
  sheriffs, police officers, lawyers and judges. Mr. Roots       accept Mr. Roots' current assertions. I don't think he can in
  apparently believes that these liens are legally valid. He     good conscience take the oath of an attorney to treat all
  states as follows:                                             members of the public and the legal system, such as
                                                                 judges, clients, and other attorneys with respect. His
    In commenting on the liens and notes (January 1997):         insulting, disdainful writings about judges, “bar
    “Ultimately, the notes are redeemable upon liens             association lawyers”, “public pretenders” the “Zionist
    lawfully placed on the oaths or property of public           government” and the like can't be erased by merely stating
    officials who have violated the law. Thus the chain of

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  that all has changed. These writings were not from many
  years ago, in a misspent youth. They continued right up to
  at least 1998, and, based on Mr. Roots testimony, even up
  to today. They were not disclosed or mentioned anywhere;
  I located them personally on the Internet. I believe that
  these matters, when taken together with the criminal
  charges and the untruthfulness, should prevent Mr. Roots
  from becoming a member of the bar. I know that the
  majority of the Committee finds individual reasons for
  overlooking each of these matters taken individually, but I
  would urge the Court to look at the record in its entirety,
  and consider whether Mr. Roots is the kind of person that
  should be representing the Court and the Bar as an
  attorney. I do not believe that he is.


Respectfully submitted,

Steven M. McInnis

Chairman

April 19, 2000


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                      *1181 Exhibit D




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                                                         Footnotes

1
       We acknowledge that the Attorney General's replacement designee did not participate in the hearings preceding the
       initial November 1999 vote of the committee. Nevertheless, in our opinion, he was sufficiently apprised of the
       pertinent and largely undisputed facts concerning Roots's application to permit him to express his opinion on this
       matter. In any event, given the advisory character of his recommendation, we have received and considered it fully
       mindful of his lack of participation in the hearings and in the initial November 1999 vote of the committee.
2
       Moreover, it should be noted that Roots now blames his plea to this felony on his naiveté and on his public defender,
       stressing that he spoke to his appointed counsel only for a total of five minutes, and the attorney advised him to plead
       guilty because the word “struggle” appeared in a witness statement and that it was illegal to struggle with an officer.
3
       Roots's law school application accounts for this conviction by claiming that the Bureau of Alcohol, Tobacco, and
       Firearms “targeted” him “in an investigation into a homemade firearm I had used in a speech presentation. Several
       firearms were seized without warrant from my apartment in Powell, Wyoming. I ultimately pled guilty to the charge
       of ‘Possession of an unregistered firearm.’ ”
       Although Roots's self-serving statement regarding the authorities' lack of and alleged need for a warrant at the time of
       the weapons' seizure may have been correct, the fact remains that, when considering his moral character to be
       admitted to the bar in this state, warrant or no warrant, Roots possessed a cache of illegal firearms. Moreover, he did
       so after having been adjudged a felon when he failed to follow the terms of his second probation after his previous
       conviction for violently resisting his arrest.
4
       Roots also has not accounted for his 1986 Utah speeding and reckless driving violations. His bar application lists the
       disposition or fine for these speeding and reckless driving violations as “u/k,” which we assume means “unknown.”
       Although Roots has not forgotten about these violations, he has neglected to determine for over fourteen years
       whether any sanctions remain outstanding against him in Utah for these transgressions.
1
       As the federal court noted, the only injury in the fracas was to the officer's hand, the result of punching Roots in the
       face.
2
       Mr. Roots testified that he did not list his activities as Jubilee correspondent because it was an unpaid ad hoc
       function, not an ongoing job. As for his statement on his law school application that he left the Conrad Burns
       Campaign because of “school schedule conflict”, while not mentioning the Campaign's concern over his extremist
       political beliefs, the Committee concludes this was not a deliberate prevarication. It appears to have been a stock
       response for the termination of most of his jobs; and if he wished to conceal his political activities he could have
       easily done so with a more accurate but equally unrevealing reason such as “policy differences”.
1
       I thought the questions were appropriate, despite my concern about treading on any of his political beliefs, because
       they related directly to his understanding of our legal system and his potential conduct as an attorney.
2
       See e.g., Roger Roots, “Five Freemen Convicted One Acquitted in Federal Show Trial,” The Jubilee Newspaper,
       Vol.10 No. 4, April 13, 1998, where it is stated by the author, “The “bank fraud” and “false claim” charges stemmed
       from documents issued from the common-law court of the Freemen Justices over an extended period. Such charges
       had occupied more than half of the two week trial. The jury, however, -even though selected and indoctrinated
       according to the de facto legal system-rejected this entire aspect of the case:” and Roger Roots, “How Strong Is The
       Case Against the Freemen?” The Jubilee Newspaper, Vol. 9, No. 3 1997 or 1998, where Mr. Roots wrote, “For once,
       a judge was asked to rule on the validity or invalidity of the Freemen financial instruments, all of which are backed
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       by judgments and liens. Ultimately, the notes are redeemable upon liens lawfully placed on the oaths or property of
       public officials who have violated the law. Thus the chain of recovery is lawful. It is where the buck stops that is so
       unsettling to the de facto regime that now occupies America. It is no wonder that the regime is now waging an
       around-the-clock war against the common-law movement?”


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